                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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BERTRAM COMMUNICATIONS LLC,

                     Appellant,
      v.                                                       Case No. 09-CV-1037

NETW URX, INC.,

               Appellee.
____________________________________________

                                       ORDER

      On November 4, 2009, Bertram Communications, LLC (“Bertram”), pursuant

to 28 U.S.C. § 158(a), appealed two decisions made by the United States

Bankruptcy Court for the Eastern District of W isconsin (“bankruptcy court”) in case

number 08-26131, In re: Netwurx, Inc. (Docket #1). Three months later, on February

18, 2010, this court dismissed one of the issues on appeal, whether the bankruptcy

court “erred in confirming the Chapter 11 Plan of Reorganization” proposed by the

appellee, Netwurx, Inc. (“Netwurx”). (Docket #24). The only issue remaining for this

court to examine is “whether the Bankruptcy Court erred in disallowing Bertram

Communications, LLC’s request for an administrative claim for post-petition services

rendered.”     (Appellant’s Br. 1). With the benefit of the parties’ briefs, the court

addresses the remaining issue on appeal. The court begins by providing the factual

background that precipitated the dispute with respect to the remaining issue on

appeal.




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                                        BACKGROUND

       Netwurx is an internet service provider (“ISP”) located in southeastern

W isconsin, “providing telecommunications services to end users.” (Appellant’s Br.

2). Bertram is a wireless internet provider, who, as a wholesaler, sells the ability to

connect to the internet to retailers, such as Netwurx. Starting in 2007 and ending in

the summer of 2008, Bertram sold to Netwurx connection space, which the appellee,

in turn, sold to its retail customers. In the midst of the period when Bertram was

providing telecommunication services to Netwurx, on June 5, 2008, the appellee filed

a voluntary petition for Chapter 11 reorganization. On July 1, 2008, James Bertram,

the appellant’s president and owner, filed a letter directed to the bankruptcy court

“informing” the court that Netwurx owed Bertram Communications for service fees

and late fees totaling $54,089.16 related to the appellant providing Netwurx with

internet service during May, June and July of 2008. Several months later, on

October 30, 2008, Bertram filed an administrative expense claim for post-petition

services, totaling $18,844.75, which the debtor objected to on November 11, 2008.

       On January 30, 2009, the bankruptcy court conducted an evidentiary hearing

on the claim objections to determine the factual basis for Bertram’s administrative

claim. First, the appellant’s chief financial officer, Gina Bertram, testified. Ms.

Bertram stated that Bertram’s relationship with Netwurx began in February of 2007,

and Netwurx “stopped paying” in April of 2008. (Tr. 14:15-16).1 The witness further


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           All citations to a transcript in this order are to the transcript of the January 30, 2009
hearing.

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noted that Netwurx never executed a written contract for the services that Bertram

provided to the appellee. (Tr. 25:10; 27:20-22). Perhaps most importantly, Ms.

Bertram testified with regard to a May 30, 2008 meeting that the appellant’s

representatives had with Peter Maher (“Maher”), the chief executive officer of

Netwurx. The witness stated that at the meeting the parties talked about selling

Netwurx to Bertram. (Tr. 29:3-4). Moreover, Ms. Bertram testified that she was

unsure if Mr. Maher “told us that he wasn’t going to pay . . . [for] the services.”2 (Tr.

29: 5-8). Ms. Bertram further disclosed that the appellant “continued the service”

after that meeting as Bertram was “trying to work with [Mr. Maher] to see if . . . [it]

was an option for [the appellant] to buy the customer base.” (Tr. 29:5-15). The

witness noted that it was within the appellant’s abilities to “turn off” service. (Tr.

31:2; 32:6).       Additionally, Ms. Bertram testified that the decision was made to

continue service to Netwurx after it filed for bankruptcy, in part, because they relied

on a statement3 by Mr. Maher that “you couldn’t shut customers off after [the

company was] in Chapter 11.”4 (Tr. 31: 22-23). The witness then concluded her

testimony by stating that Mr. Maher’s statement prompted her to inquire into the legal

validity of Mr. Maher’s claim, and once the appellant “found out it was okay” to shut




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       Ms. Bertram further testified “I don’t think he said that he was not going to pay us at all,
because he was discussing selling his business.” (Tr. 29:16-18).
        3
            Its unclear from Ms. Bertram’s testimony when exactly Mr. Maher made this statement.
        4
         Ms. Bertram further testified later in the hearing that “he said that post-bankruptcy you . . .
are not allowed to shut off our customers.” (Tr. 37:9-10).

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off Netwurx’s services, Bertram “shut the customers off” on the second or third of

July in 2008. (Tr. 37: 18-23).

         After Ms. Bertram concluded her testimony at the January 30, 2009 hearing,

James Bertram was called to the stand. The witness testified that he did not “recall

hearing” Mr. Maher tell him “straight out that he was not going to pay [the] company

for any more services provided to Netwurx” at the meeting in late May of 2008. (Tr.

50:11-14). Mr. Bertram further stated that after Netwurx filed for bankruptcy, Mr.

Maher stated “I don’t believe you can shut my customers off because its an estate.”

(Tr. 41:7-8). The witness further testified that he “didn’t know” what Mr. Maher’s

statement meant, but “didn’t want to do something wrong” and “have ramifications

back.”     (Tr. 41:8; 10-11). Notably, the witness knew that Mr. Maher was not an

attorney. (Tr. 49:15) Mr. Bertram then testified that he did some “research” on his

own, which, in the words of the bankruptcy court, led him to “believe [he] couldn’t

shut [Netwurx] off.” (Tr. 41:15-16; 42:22-24, 51:21-24).

         Peter Maher next testified at the January 30, 2009 hearing.      Mr. Maher

unequivocally stated that the debtor received the benefit of the services provided by

Bertram both “pre and post petition.” (Tr. 54:2-6). The witness further testified that

he told Bertram, before the appellee filed for bankruptcy, that “they would have to

make a decision whether they would like to continue to provide services, but [that

Netwurx] would no longer pay them ever again.” (Tr. 54:14-17). In fact, Mr. Maher

emphatically repeated his comments throughout his testimony, stating that he



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“absolutely told” Bertram that, during the meeting on May 30, 2008, Netwurx would

no longer pay them (Tr. 55:9), with his “exact” words being “I will no longer pay you

ever again.” 5 (Tr. 55:25 - 56:1). The witness also testified that, after Netwurx had

filed for Chapter 11 reorganization, he told Mr. Bertram that “I don’t believe [you] can

shut [Netwurx’s customers] off.” (Tr. 65:17-18). Mr. Maher admitted that he “was

not clear of the law.” (Tr. 65:16). David Roller, the director of operations for

Netwurx, also testified with regard to the meeting that occurred on May 30, 2008,

between the two company’s officials, confirming Mr. Maher’s testimony. (Tr. 110:14).

       The court took the testimony under advisement, and, on February 27, 2009,

the bankruptcy court issued a decision and order first finding that Bertram’s claim for

post-petition services could not be allowed as an administrative claim because the

inducement occurred pre-petition. (Decision and Order on the Debtor’s Objection

to the Claims of Bertram Communication, LLC, Case No. 08-26131-SVK, Docket #96

(“Decision”) 4). Second, the bankruptcy court stated that Bertram’s post-petition

expenses of $18,844.75 could not be allowed as a general unsecured claim, as the

court found that Bertram could not succeed under a theory of unjust enrichment or

quantum meruit. (Decision 4-5). Third, the court found that Bertram was entitled to

a general unsecured claim in the amount of $26,020.94 for pre-petition services.

(Decision 6-7). On November 11, 2009, Bertram filed a notice of appeal, arguing,


       5
           The relationship between Bertram and Netwurx was quite rocky. Mr. Maher explained
during his testimony that he told Bertram that he no longer intended to pay the company because
of “price increases, the lack of services, [and] the taking over of” a tower by Bertram. (Tr. 57:1-2).


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in relevant part, that the bankruptcy court erred by: (1) disallowing Bertram’s request

for an administrative claim for post-petition services rendered; and (2) disallowing

Bertram’s request for post-petition expenses to be treated as a general unsecured

claim under a theory of unjust enrichment or quantum meruit.         (Docket #1). The

court proceeds to examine the legal efficacy of the appellant’s claim.

                                    DISCUSSION

      This court has jurisdiction to hear an appeal of a bankruptcy court’s order

under 28 U.S.C. § 158(a). As the reviewing court, the district court must “apply a

clear error standard to the bankruptcy court’s factual findings and review its

resolutions of legal questions de novo.” Ojeda v. Goldberg, 599 F.3d 712, 716 (7th

Cir. 2010).   A finding is “clearly erroneous” when “although there is evidence to

support it, the reviewing court on the entire evidence is left with the definite and firm

conviction that a mistake has been committed.” In re Smith, 582 F.3d 767, 777 (7th

Cir. 2009) (internal citations omitted).

      Bertram’s principal issue on appeal is that the bankruptcy court erred by

disallowing Bertram’s request for an administrative claim for post-petition services

rendered. Section 503 of the Bankruptcy Code provides priority status for the

payment of “actual, necessary costs and expenses of preserving the [bankruptcy]

estate,” including “wages, salaries, or commissions for services rendered after the

commencement of the case.” 11 U.S.C. § 503(b)(1)(A). The logic of the Bankruptcy

Code in giving priority to parties who supply goods or services to a debtor-in-



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possession is to encourage such parties to do business with the bankruptcy estate.

In re Jartran, Inc., 732 F.2d 584, 586 (7th Cir. 1984). However, “administrative

priority claims are to be strictly construed because the presumption in bankruptcy

cases is that the debtor has limited resources that will be equally distributed to

creditors.” In re Nat’l Steel Corp., 316 B.R. 287, 299 (Bankr. N.D. Ill 2004). The

Seventh Circuit has adopted a strict two-part test for determining whether a

particular debt will be afforded administrative priority: (1) the debt must arise from

a transaction with the debtor-in-possession; and (2) the debt must be beneficial to

the debtor-in-possession in the operation of the business. Jartran, 732 F.2d at

586-87 (citing In re Mammoth Mart, 536 F.2d 950, 954 (1st Cir. 1976)). To satisfy

the first prong of the Jartran test, the creditor must enter into a transaction with the

post-petition debtor or the debtor must have induced the creditor’s performance.

Jartran, 732 F.2d at 588. The debt may not merely arise out of commitments made

before the debtor-in-possession came into existence. Id. “[W ]hen third parties are

induced to supply goods or services to the debtor-in-possession pursuant to a

contract that has not been rejected, the purposes of [administrative claims] plainly

require that their claims be afforded priority.” Mammoth Mart, 536 F.2d at 954

(noting that the debtor-in-possession is “free to . . . reject burdensome executory

contracts.”). The second prong of the Jartran test requires an actual and necessary

benefit to the bankruptcy estate. Id. at 587. The moving party bears the burden of

showing its claim is entitled to administrative expense priority, and the standard of



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proof is preponderance of the evidence. In re FBI Distrib. Corp., 330 F.3d 36, 42

(1st Cir. 2003).

       Applying this standard of proof, the bankruptcy court found that Bertram could

demonstrate that it met the second prong of the Jartran test, as the appellant had

conveyed a benefit to Netwurx by continuing to provide the debtor with

telecommunication service after the appellee filed for bankruptcy on June 5, 2008.

(Decision 3) (“Here, Netwurx cannot reasonably dispute that Netwurx received a

benefit from Bertram’s services.”). However, the bankruptcy court also found that

Bertram could not prove that it was entitled to an administrative claim under the first

prong of the Jartran test because “although Netwurx may have received valued

based Bertram’s post-petition services,” “Bertram’s agreement with Netwurx to

provide internet services occurred pre-petition” and was rejected before Netwurx

became a debtor-in-possession.6 (Decision 3).

       On appeal, Bertram makes several arguments that the bankruptcy court’s

findings that there were no post-petition inducements was clearly erroneous.

(Appellant’s Br. 5) (“However, the Court does not give proper weight to the testimony

that indicates there were in fact post-petition inducements.”). First, the appellant

argues that the bankruptcy court discounted evidence that on May 30, 2008, “Mr.

Maher talked to the Bertrams about possibly selling the Netwurx customers to

Bertram.” (Appellant’s Br. 5). The appellant contends that Mr. Maher’s statement


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         In concluding as such, the bankruptcy court noted that “before the bankruptcy, Netwurx
told Bertram it would not pay for the services anymore.”

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induced the Bertrams to “continue service in order to preserve the customers

pending a sale, as without these services the customers would be lost.”

(Appellant’s Br. 5).

      The court is unpersuaded by the appellant’s first argument. There is a dearth

of evidence in the record indicating that there was a formal arrangement to have

Bertram purchase Netwurx’s customers in exchange for continuing internet service

post-petition. The closest the testimony of any party comes to discussing any sort

of arrangement is the testimony of Ms. Bertram, who stated that the two parties were

exploring the “option” of having the appellant purchase the appellee’s clients. (Tr.

29:5-15). The bankruptcy court did not error by finding that Ms. Bertram’s testimony

failed to show that Mr. Maher induced the appellants into continuing services post-

petition. The bankruptcy court found Mr. Maher’s testimony that he emphatically

stated that he would “no longer pay [Bertram] ever again” (Tr. 55:25 - 56:1), credible

and concluded that Bertram could not be induced by discussions regarding the

possible purchase of the appellee’s customers when there was zero possibility that

continuing the services would result in payment. W hile Mr. Bertram and Ms. Bertram

testified that they did not recall Mr. Maher making such a statement, this court is

unable to conclude that the bankruptcy court was clearly erroneous in accepting the

testimony of Mr. Maher and rejecting the testimony of the Bertrams. See Anderson

v. Bessemer City, 470 U.S. 564 (1985) (“W here there are two permissible views of

the evidence, the factfinder's choice between them cannot be clearly erroneous.”).



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       Perhaps more importantly, even if the court does find that there was some sort

of statement about selling customers to Bertram by Mr. Maher that compelled the

appellant to continue to provide Netwurx telecommunication services, such a

statement does not constitute post-petition inducement, as the conversation in

question occurred before Netwurx filed for bankruptcy. Bertram argues that the

“possibility of a sale remained past the petition filing date, and so the pre-petition

inducement continued on as a post-petition inducement.”                       (Appellant’s Br. 5).

However, “inducement of the creditor’s performance by the debtor-in-possession is

crucial to a claim for administrative priority.” Jartran, 732 F.2d at 587 (emphasis in

original). The appellant cites to no authority indicating that pre-petition inducement

can “continue on” as post-petition inducement,7 and, as such, the court is obliged to

reject Bertram’s first argument for reversal.

       Second, Bertram argues that the bankruptcy court erred by failing to find that

“Mr. Maher . . . induced the Bertrams post-petition when he stated to Mr. and Mrs.

Bertram that because he was in Chapter 11, they could not shut off service.”

(Appellant’s Br. 5). W hen applying the first prong of the Jartran test that “the debt

must arise from a transaction with the debtor-in-possession,” 732 F.2d at 588, it


       7
          In fact, if any statement made before a petition for bankruptcy is filed can “continue on”
to influence a creditor such that they provide services post-petition, the distinction between pre- and
post-petition inducement is obliterated. The goal of providing priority to administrative claims is
to encourage parties to contract with the debtor-in-possession. If the court reads the first prong
of the Jartran test to encompass pre-petition statements, the value of the intended priority
envisioned by Congress would be “diluted.” Jartran, 732 F.2d at 586. Moreover, the court notes
that the appellants do not argue that Netwurx “had a duty to take affirmative steps to prevent
[Bertram] from engaging in post-petition performance,” and, as such, any silence by Netwurx is
meaningless. Id. at 587.

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appears at first blush that Bertram’s argument is wholly without merit, as the post-

petition assertion by Mr. Maher, if believed, did not constitute some sort of

agreement or transaction between the parties. However, Jartran also noted that the

first prong of the test for whether a claim is entitled to the benefit of administrative

priority can be also be met by a showing of “inducement of the creditor’s

performance by the debtor-in-possession.”         Id.   There is a lack of case law

explaining what “inducement” in the context of the first prong of the Jartran test

exactly entails, 732 F.2d at 591 (“W e leave to another day the problem of what sort

of post-petition conduct by the debtor could lead to a conclusion . . . that the claimant

was thus entitled to administrative priority”), and neither party cites to any authority

that is particularly helpful. The cases that have found that a debtor “induced” a

creditor’s performance have done so in a context where the debtor unequivocally

assured and urged the creditor that an agreement forged pre-petition would

continue. See, e.g., In re Pre-Press Graphics Co., 287 B.R. 726, 731 (Bankr. N.D.

Ill. 2003) (“By assuring Nolte that the Agreements would be “going forward” and

continuing to accept Nolte’s services and the benefits flowing therefrom, the Debtor

induced Nolte’s performance”); see also In re Collins & Aikman Corp., 384 B.R. 751,

760 (Bankr. E.D. Mich. 2008) (holding that a detailed email sent by the debtor, a tool

manufacturer, to a creditor tool supplier constituted inducement under the Sixth

Circuit’s equivalent to the Jartran test, as the email both (1) was intended to induce

the creditor’s performance and (2) resulted in the continued performance); In re



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Carpet Ctr. Leasing Co., 991 F.2d 682, 686-687 (11th Cir. 1993) (“Debtor actively

sought to retain possession of the tractors by agreeing to pay Paccar monthly

adequate protection payments . . . [t]he negotiation for continued possession of the

tractors in return for adequate protection is a post-petition transaction providing new

value to the bankruptcy estate.”) The court is also guided by a 2003 opinion by

Judge Gerber of the United States Bankruptcy Court for the Southern District of New

York:

        “The ‘inducement’ requirement . . . must be construed with common
        sense – to filter out, as in Jartran, claims for administrative expense
        treatment where the post-petition benefit is requested pre-petition
        and/or unwanted by the post-petition debtor-in possession, but to
        require administrative expense treatment where the post-petition
        benefit is knowingly accepted and desired, post-petition, by the post-
        petition debtor-in-possession.”

In re Adelphia Bus. Solutions, Inc., 296 B.R. 656, 665 (Bankr. S.D.N.Y. 2003).

        Applying these principles to the specific issue at hand, the court concludes

that Mr. Maher’s statement to Mr. Bertram that, “I don’t believe you can shut my

customers off because its an estate” (Tr. 41:7-8), does not constitute “inducement”

under the first prong of the Jartran test. First, there was nothing unequivocal about

Mr. Maher’s statement that exhibited a knowing acceptance or desire of the benefit

Bertram was providing to Netwurx.      Notably, Mr. Maher had, prior to uttering the

statement in question, told Bertram that Netwurx would no longer pay the appellant

“ever again” for the services it was rendering under the contract. The court does not

find error in the bankruptcy court concluding that the rather lukewarm statement “I



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don’t believe you can shut my customers off,” when viewed in the context of earlier

statements outright rejecting the contract in question, failed to reasonably induce the

Bertrams into continuing to provide telecommunication services. 8 Moreover, the

testimony of Mr. Bertram and Mr. Maher all indicate that Maher was providing a

rather hesitant9 opinion on the state of the law, rather than expressing some sort of

desire to continue the business relationship. Additionally, as the bankruptcy court

noted, there was significant evidence in the record that the true catalyst for Bertram

continuing to provide telecommunication services to the debtor was the appellant’s

hope to purchase those customers from Netwurx and not Mr. Maher’s statements

about the legal perils of shutting off Netwurx’s customers. 10                Bertram took the

calculated risk that by continuing to provide service to Netwurx’s customers after the

appellee’s petition was filed that Bertram could avoid upsetting potential future

customers even knowing that Netwurx refused to pay for such services. W hile

Bertram’s gamble did not pay off, as the company was unsuccessful in acquiring

Netwurx’s customers, merely providing a benefit post-petition to the debtor does not,

in and of itself, transform a debt into an administrative priority claim. Jartran, 732



       8
        This is particularly true given that Mr. Maher was not a lawyer and the Bertrams, business
people of over thirty years (Tr. 47:9), knew that Mr. Maher’s take on the law was lacking any basis.
       9
            Mr. Bertram testified that Mr. Maher used the phrase “I don’t believe you can.” (Tr.
41:7-8).
       10
          There is also evidence in the record that Mr. Bertram was persuaded to continue
providing telecommunication services, not because of Mr. Maher’s statement, but because of Mr.
Bertram’s own research he did on the internet regarding bankruptcy law. (Tr. 41:15-16; 42:22-24,
51:21-24).

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F.2d at 586-87. In fact, Bertram was so unpersuaded by Mr. Maher’s assertions

about the law that Mr. Bertram did outside research on bankruptcy law to determine

whether he could shut off Netwurx’s customers 11 and the company, belatedly,

consulted an attorney to determine whether the appellant could shut off services.12

In short, the court finds the bankruptcy court did not clearly error by finding that

inducement did not occur in this case. The only way inducement could exist in this

case is if the first element of the Jartran test was given a very expansive meaning

to encompass off-handed comments by the agents of a debtor-in-possession that

had the remote and patently unreasonable 13 possibility of causing the creditor to

continue to provide services to the debtor. Given that administrative priority claims

are to be strictly construed, In re Federated Dep't Stores, Inc., 270 F.3d 994, 1000

(6th Cir.2001), the court finds it improper to expand the “inducement” requirement




       11
         Mr. Bertram conceded in his testimony that his own research was a reason why he
continued to provide services to Netwurx. (Tr. 41:15-16; 42:22-24, 51:21-24).
       12
         The court surmises that Bertram did this only after they concluded that they no longer had
the opportunity to acquire Netwurx’s customers.
       13
         The court finds that it borders on the absurd that Bertram could reasonably rely or be
induced by the assertion of a non-lawyer regarding the law.

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as such.14 See also In re Larsen, 80 B.R. 784, 788 (Bankr. E.D. Va. 1987) (“It is not

enough that the debtor-in-possession take some action that gives rise to a claim: a

transaction between the creditor and debtor-in-possession must occur”) (emphasis

in original).

        Third, Bertram attempts to distinguish Jartran, arguing that, unlike in Jartran,

here, the debtor “continued to take and sell the service offered” by the creditor and

“continued to make money from this service post-petition.” (Appellant’s Br. 6).

However, in Jartran, like in this case, the debtor did indeed benefit from the

continued services of the creditor. 732 F.3d at 587 (“There is no question that the

appearance of ads in Yellow Page directories throughout the country is beneficial to

Jartran, as a debtor-in-possession, in the operation of its business . . . [a]fter filing

the petition in bankruptcy, Jartran continued to place new ads in directories

throughout the nation, thus evidencing the importance of Yellow Pages advertising

to the success of the Jartran business.”) The issue in Jartran is identical to the issue

in this instant case: whether there was any post-petition transaction or inducement



        14
               The appellant, later in its brief, argues, without citation, that the “Debtor’s arguments with
regards to the administrative claim in effect state that a debtor can demand that a creditor continue
to provide a service because the debtor is in bankruptcy, can make a profit from the service when
the creditor complies with these demands, and the debtor never has to pay the creditor anything
for it . . . [t]his is an absurd result.” (Appellant’s Br. 7). The appellant is being disingenuous. First,
there is nothing in the record that indicates that the debtor “demanded” that the creditor continue
to provide their service; the debtor, at best, made an off-hand comment about the legal ability for
the creditor to cut-off services. As discussed above, the unequivocal statements by Mr. Maher that
he would no longer pay for services removes any chance that the statements in question were any
sort of “demand.” Moreover, just because a creditor’s claim is not given administrative status does
not mean that the debtor “never has to pay the creditor anything for it;” the claim is merely given
lower priority. 11 U.S.C. § 507.

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by the debtor-in-possession resulting in the creditor conveying a benefit on the

debtor. The Seventh Circuit concluded in Jartran that there was no transaction or

inducement by the debtor-in-possession; faced with nearly identical material facts

in this case, this court is obliged to conclude similarly.

      Bertram cites the case of In re Home Interiors & Gifts, Inc., No.

08-31961-11-BJH, 2008 Bankr. LEXIS 2476 (Bankr. N.D. Tex. Oct. 9, 2008) in

support of its attempt to distinguish Jartran. The court is puzzled by the appellant’s

citation, as even a cursory reading of the case indicates to the reader that the court

in that case limited its holding to the specific context of the continued use of a

creditor’s trademark.15       Id. at *14; 21 (“However, HIG's focus on post-petition

‘inducement’ is misplaced in a trademark use context . . . In these instances, the

general administrative expense claim requirement as stated in In re Amarex, 853

F.2d at 1530, of a post-petition transaction and inducement by the debtor is not the

relevant inquiry . . . [r]ather, in the trademark and pre-1984 real property cases,

courts addressing this issue have looked primarily to the debtor’s continued

post-petition ‘use’ of that property, and whether such use benefitted the bankruptcy

estate.”) (emphasis added). In the context of the post-petition use of a trademark,

where the law states that the “underlying right to the trademark accrues from the use

of a particular name or symbol,” the In re Home Interiors & Gifts court found that the

debtor-in-possession engaged in a transaction with the creditor by knowingly and



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           Remarkably, the appellee does not mention this distinction either.

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willingly using the marks in question.16 Id. at *16. Here, the facts of this case are

completely divorced from those of the In re Home Interiors & Gifts court, as no

trademark use is at issue here, and the court finds Jartran much more on point. “A

benefit to the debtor-in-possession alone, without it having induced the performance,

is not sufficient to warrant entitlement to an administrative claim priority, as it would

contradict [the] policy reason for allowing priority.” In re Old Carco LLC, 424 B.R.

650, 656 (Bankr. S.D.N.Y. 2010) (citing to Jartran, 732 F.2d at 590).

       In an attempt to try to further distinguish Jartran, the appellant, in its reply

brief, argues that in Jartran, unlike in this case, the benefit conferred by the creditor

was “unquantifiable and unascertainable.” (Appellant’s Reply Br. 4). The appellant

does not cite to any case law for the proposition that the “certainty” of the amount of

debt in question is dispositive when determining whether a claim should be afforded

administrative status. Rather, this court will rely on the test in Jartran, which states

that a debt can be an administrative claim if it arose from a transaction with the

debtor-in-possession and was beneficial to the debtor-in-possession in the operation

of the business. 732 F.2d at 586-87.            Here, the appellant has failed to meet its

burden of demonstrating that the bankruptcy court erred by finding that no post-

petition transaction occurred. Accordingly, this court will affirm the decision of the

bankruptcy court in not granting the appellant an administrative claim in the amount

of $18,844.75.


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          The court does not voice agreement with the distinction made by the In re Home Interiors
& Gifts court, but merely restates its holding.

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       Bertram argues, in the alternative, that their “post-petition claim should be

given unsecured status.” (Appellant’s Br. 8). Before the bankruptcy court, the

appellant advanced two state-law based theories for why its post-petition claim

should be allowed: (1) unjust enrichment; and (2) quantum meruit. The bankruptcy

court rejected both of the theories presented by the creditor, and Bertram argues on

appeal that the bankruptcy court was in error. The court proceeds to evaluate the

unjust enrichment claim.

       In W isconsin,17 an action for unjust enrichment is “based upon proof of three

elements: (1) a benefit conferred on the defendant by the plaintiff, (2) appreciation

or knowledge by the defendant of the benefit, and (3) acceptance or retention of the

benefit by the defendant under circumstances making it inequitable for the defendant

to retain the benefit.” Watts v. Watts, 137 W is. 2d 506, 531 (1987). The bankruptcy

court, in its February 27, 2009 order, found that “the first and second requirements

[of an unjust enrichment claim] appear to be met . . . because Bertram provided

services to Netwurx’s customers, and Netwurx received payment from the customers

for those services.” (Decision 5). However, the bankruptcy court concluded that

Bertram could not recover under an unjust enrichment theory because: (1) Netwurx

“unequivocally declined the benefit” for which Bertram now seeks compensation; and



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           The parties do not dispute that Wisconsin law applies to the claim at issue. In federal
court, the choice of law is determined by the choice of law rules of the forum state. See Klaxon Co.
v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496-97 (1941). When the parties do not dispute what law
should be applied, the court should apply forum law, Futuresource L.L.C. v. Reuters Ltd., 312 F.3d
281 (7th Cir. 2002), and, accordingly, the court will apply Wisconsin law.

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(2) “[i]f a person declines in advance a benefit to be conferred by another, then the

person conferring the benefit may not recover for unjust enrichment.” (Decision 5)

(citing to Lawlis v. Thompson, 137 W is. 2d 490, 499 (1987)).

      W ith respect to the unjust enrichment claim, the court does not find error with

the bankruptcy court.     Bertram does not quibble with the bankruptcy court’s

conclusions regarding the law, but rather disputes the court’s findings regarding the

facts of the case, arguing that the “debtor never ‘unequivocally declined the benefit’

and in fact urged that the benefit continue.” (Appellant’s Br. 8). Specifically, in

arguing that Netwurx did not “decline in advance the benefit conferred” by Bertram,

the appellant repeats its earlier concerns that: (1) “the parties were discussing a

sale [of Netwurx’s customers to Bertram]”; and (2) “Mr. Maher told the Bertrams that

they could not shut off service due to the bankruptcy.” (Appellant’s Br. 8). For the

reasons discussed above, the court cannot find clear error with the bankruptcy

court’s factual findings. The bankruptcy court relied upon the testimony of Mr. Maher

and Mr. Roller to conclude that the appellee’s chief executive officer told Bertram

that Netwurx no longer desired the appellant’s services.         The mere fact the

bankruptcy court found the testimony of Mr. Maher and Mr. Roller to be more

credible than the testimony of the Bertrams does not mean that the bankruptcy

court’s findings were clearly erroneous. In re Pearson Bros. Co., 787 F.2d 1157,

1162 (7th Cir. 1986) (“[T]he bankruptcy judge’s determination . . . was based upon

the conflicting testimony of two witnesses and must be upheld if the testimony



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accepted by the trier of fact was coherent, facially plausible and uncontradicted by

documentary or objective evidence.”). Here, the appellant only complains that the

bankruptcy court did not accept the Bertrams’ version of the facts, an insufficient

ground to reverse a bankruptcy court’s factual findings. 18 Id. Moreover, even if the

court fully accepts the testimony that: (1) there were discussions about Bertram

purchasing Netwurx’s customers; and (2) Mr. Maher stated “I don’t believe you can

shut my customers off because its an estate,” such evidence does not call into

dispute whether Netwurx declined the benefit conferred by Bertram: Netwurx was

clear that they were no longer going to pay Bertram. Testimony with respect to

tangential questions about obtaining the appellee’s clients and Mr. Maher’s

lukewarm assertions about bankruptcy law does not warrant reversal of the

bankruptcy court’s ultimate conclusion.

       Bertram also asserts that the bankruptcy court erred with respect to its claim

based on quantum meruit. Recovery in quantum meruit is “allowed for services

performed for another on the basis of a contract implied in law or an implied promise

to pay the performer for what the services were reasonably worth.” In re Estate of

Voss, 20 Wis. 2d 238, 241 (1963). Quantum meruit is applicable where: (1) the

defendant requested the plaintiff to perform services; (2) the plaintiff complied with


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            Bertram contends that Netwurx was attempting to mislead and lure the appellant into
continuing its services. The question of the intent of the parties is largely one related to the
credibility of the conflicting witnesses. The court will defer to the trier of fact on such questions.
 Pearson Bros. Co., 787 F.2d at 1162 (“The question of credibility of witnesses is peculiarly for the
trier of fact and an appellate court will not redetermine the credibility of witnesses where the trial
court had the opportunity to observe their demeanor and form a conclusion.”).

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the request; and (3) the services were valuable to the defendant.19 W.H. Fuller Co.

v. Seater, 226 W is. 2d 381, 386 n.2., 595 N.W .2d 96 (Ct. App. 1999).                              The

bankruptcy court concluded that “Bertram’s quantum meruit argument fails because

Netwurx made no promise to pay, and therefore Bertram could not expect

reasonable compensation.” (Decision 5).

        Again, Bertram on appeal does not dispute the bankruptcy court’s

interpretation of the law, but instead argues that contrary evidence existed that

conflicted with the evidence relied on by the court. (Appellant’s Br. 9) (“Again the

Bankruptcy Court relies on Peter Maher’s testimony . . . [h]owever, this is entirely

contradictory of Mr. Maher’s statements a few days later stating that the Bertrams

had to keep providing him service.”). For the reasons stated above, the bankruptcy

court was not clearly erroneous by finding the testimony of Mr. Maher and Mr. Roller

to be more persuasive than that of the Bertrams. Moreover, Mr. Maher’s statement

that he “didn’t believe” Bertram was allowed to shut off Netwurx’s customers is a

ways removed from a “request” for Bertram to continue services, especially when




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          Indicative of the quality of the brief, the appellant’s attorney opted to not cite any authority
for what the elements of a quantum merit claim are. (Appellant’s Br. 9) (“To satisfy the elements
of quantum merit, there must be three elements. The defendant must request a service; the
service must be performed; and the plaintiff must expect reasonable compensation. Again, the
Bankruptcy Court relies . . .”).

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viewed in light of Netwurx’s earlier statements about its unwillingness to pay the

appellant.20

       In the final analysis, the bulk of Bertram’s argument rests on a very thin reed

– the suggestion that an assertion made by Mr. Maher, a layperson and non-lawyer,

concerning the implications of bankruptcy law compelled the appellant to continue

to provide telecommunications services to the debtor. To be sure, the suggestion

that anyone seasoned with many years of experience in operating a business would

be persuaded by the legal musings of a non-lawyer to continue providing thousands

of dollars in services strains all credulity. Thus, the court is obliged to affirm the

decision of the bankruptcy court and dismiss this appeal in its entirety.

       Accordingly,

       IT IS ORDERED that this appeal be and the same is hereby DISMISSED.

       Dated at Milwaukee, W isconsin, this 29th day of July, 2010.

                                                     BY THE COURT:




                                                     J.P. Stadtmueller
                                                     U.S. District Judge


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            The appellant states that “[t]here is no reason not to believe that one would be
compensated for a service compelled in such a way.” (Appellant’s Br. 10). The court has difficulty
with even understanding the appellant’s argument, as it contains a double negative. See
GERALDINE W OODS , ENGLISH GRAMMAR FOR DUMMIES 306 (2d ed. 2010) (“If you think this is one in
a long list of useless grammar rules, think again. A double-negative mistake can completely wreck
your sentence.”) Beyond the grammatical error, the court finds it preposterous that Bertram
“believed” that it would be compensated when Mr. Maher stated that he “didn’t believe” that the
appellant could shut off service; nothing in Mr. Maher’s comments indicate that Netwurx would pay
Bertram for services rendered.

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